Case: 1:17-cv-03591 Document #: 529 Filed: 01/23/25 Page 1 of 1 PageID #:8271

                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.2)
                                Eastern Division

Stanley Boim, et al.
                                             Plaintiff,
v.                                                           Case No.: 1:17−cv−03591
                                                             Honorable Andrea R. Wood
American Muslims for Palestine, et al.
                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 23, 2025:


        MINUTE entry before the Honorable Heather K. McShain: For the reasons stated
in the corresponding Order, plaintiffs' petition for attorneys' fees [504] is granted in part
and denied in part. Within 30 days of the date of this Order, defendants shall pay to
plaintiffs' counsel $6,386.00. Enter Order. Mailed notice. (pk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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